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CIVIL DISTRICT COURT FOR THE PARISH OF ORLEANS
STATE OF LOUISIANA
NO. 8689-11943 DIVISION "L"

DOROTHY WILLIAMS, ET AL

VERSUS xrIBl!
SHERIFF HARRY LEE, ET AL ‘ ML

REASONS FOR JUDGMENT

Joel c. Williams (born 2 October 1961) died on 19 June
1987 as a direct result (cauge-in-fact) of being restrained in
a four-point restraint (commonly referred to as "hogtied") by
Jefferson Parish Sheriff deputies following his arrest on
misdemeanor charges following an automobile aookaent in which
Williams's car ran off the road. Williams died of positional
asphyxia (also known ag positional hypoxia) which was known at
the time and is known as a risk of the four-point restraint.

The Court embraces fully the version of Williams’s death
as testified to by Dr. George McCormick.

The closer question is whether Williams was
contributorily negligent in his own death.

Under a duty-risk analysis of the facts, which is to a
certain extent a “but for" analysis, a cause-in-fact of
Williams's ultimate death was his behavior following the
accident in which his car ran off the roadway. If Williams had
not attacked people at the snowball stand, had not swung at the
depity sheriff, had not made his body rigid when the deputies
tried to place him in the patrol ican; had not flailed his legs,
and resisted, he would not have had to be restrained in the
manner in which he was, to-wit, the four-point restraint. He
was placed face down on the back seat of the police car. And
the defendants do not assert that Williams deserved to die
beciuse of his arrest for the incident. Based upon same, the

Court assesses fault at 50% to Williams and 50% to the

defendants.

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The Court fixes general damages at $450,000.00 for the
wrongful death and conscious pain and suffering leading up to
the death.

The evidence preponderates to the Orleans Parish
Coroner's Office issuing autopsy reports more than one year
following a death because ef the workload volume. The court
reimbraces ita fact finding of 5 June 1992 respecting the
exception of prescription. This Court declines to penalize a
plaintiff for delaying filing suit until she had reasonable
knowledge that a wrong was committed, especially when that
wrong was allegedly committed by public officials. Contra non
valentum should be applied and this Court does so do.

Judgment will be entered in accordance with the foregoing

reasons.

]~ march 1993. ,
CIVIL DISTRICT COURT FOR THE PARISH OF ORLEANS
STATE OF LOUISIANA
NO. 89-11943 DIVISION “L"
DORUTHY WILLIAMS, ET AL

VERSUS

SHE?IFF HARRY LEE, ET AL

JUDGMENT
This matter came for trial on 26 January and 12 and 16

March 1993.

PRESENT: Christopher Bruno, Esq.
Franz Zib‘lich, Esq.

IT IS ORDERED, ADJUDGED AND DECREED that there be judgment
herein in favor of plaintiff, Dorothy Williams, and against
defendants, Harry Lee in his capacity as Sheriff of Jefferson
Parish, Jefferson Parish Sheriff's office, and Jefferson Parish
Correction Center, jointly, severally and in solido, in the sum
of $225,000.00 with interest tMereon at the legal rate from 1
June 1989, until paid, all costs of these proceedings including
expert witness fees of $400.00 for Dr. George M. McCormick, II,
and overruling defendants’s exception of prescription. d

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Judgment read, rendered and signed this ZL day of

March, 1993.
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“” JUOGE J pe

